                            UNITED STATES DISTRICT COURT

                            MIDDLE DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                    CRIMINAL NO. 22-92-JWD-RLB

VERSUS                                                      JUDGE JOHN W. DEGRAVELLES

ANTONIO FELIPE BELDA
a.k.a. “Tony Belda”
                      MOTION TO CONTINUE RE-ARRAIGNMENT

       NOW INTO COURT, comes ANTONIO FELIPE BELDA, through undersigned

counsel, who respectfully submits this motion to continue re-arraignment in this matter from

November 20, 2024 at 10:00 a.m. to a date at least 60 days from the filing of this motion. In

support of his motion, Mr. BELDA represents as follows:

                                                  1.

       Mr. BELDA is set for re-arriagnment on Wednesday, November 20, 2024 at 10:00 a.m.

                                                  2.

       Mr. BELDA’s infant son, Leo, has several diagnoses which include gross motor delay,

speech delay, feeding difficulties, and most importantly, hypotonia. He is currently under the care

of a pediatric neurologist for the hypotonia diagnosis.

                                                  3.

       The Beldas have a pre-existing MRI scheduled for Leo with a neurologist at Our Lady of

the Lake Children’s Health with the Pediatric Neurology department at 8:00 a.m. on December

18, 2024. See Exhibit A and B. Dr. Chad M. Manuel, MD, will perform the procedure which will

require sedation. Affixed to this pleading is the neurologist’s narrative of Leo’s diagnosis and

plans for care. See Exhibit C.

                                                  4.
        Mr. BELDA’s only family relation who resides in Louisiana is his wife, Patricia Belda.

Mrs. Belda works full time to support the family during the pendency of this matter. In the

interim, Mr. BELDA has been the primary caretaker for their son and is responsible for

coordinating Leo’s weekly visits with three individual therapists for speech, physical, and

occupational therapy.

                                                  5.

        The results of the MRI may potentially reveal a serious neurological condition which

may require surgical treatment or medical therapy, or at the very least follow ups with a

neurologist. Put simply, this procedure and its implications are significant.

                                                  6.

        As Mr. BELDA is set to enter a plea in this matter which will result in a remand into

custody pursuant to 18 U.S.C. 3143(a)(2) and 3142(f), Mrs. Belda will be faced with great

difficulty caring for their son during his recovery, continued therapy sessions, and balancing her

work obligations.

                                                  7.

        Mr. BELDA has entered into a signed plea agreement with the government in this matter.

He intends to honor his agreement and proceed with a guilty plea at re-arraignment. Not only

does he intend to enter his plea, the signed plea agreement binds him to not withdraw his plea.

                                                  8.

        Importantly, this motion is not filed with the intent to delay these proceedings, but out of

necessity for the welfare of the Beldas’ infant son. Additionally, a continuance will allow for the

Beldas to make the necessary arrangements for the future care of their son and for Mr. BELDA

to put his affairs in order.
                                                   9.

       Counsel has advised the government that it intends to file this continuance for the reasons

stated herein and the government responded that it opposes this requested relief. After conveying

its intentions to file for this continuance to ascertain the government’s position, Assistant U.S.

Attorney Edward Warner responded that, “[w]e not only oppose your motion to continue the

guilty plea, but we are also alerting you that we will file the motion to revoke if you file a

motion to continue the guilty plea.” Counsel asked the Assistant U.S. Attorney for clarification

as to why the government opposed the continuance and urged reconsideration. The Assistant

U.S. Attorney’s response was, “[w]e won’t reconsider and we’ve stated our position.”

       WHEREFORE, defendant ANTONIO FELIPE BELDA hereby moves the Court for

an Order continuing re-arraignment in this case from November 20, 2024 at 10:00 a.m. to a new

date at least 60 days from the filing of this motion.
RESPECTFULLY SUBMITTED,


s/ David J. Rozas
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VERSUS                                                         JUDGE JOHN W. DEGRAVELLES

ANTONIO FELIPE BELDA
a.k.a. “Tony Belda”
                                 CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on November 14, 2024, a copy of the foregoing Motion to

Continue Re-arraignment was filed electronically with the Clerk of Court using the CM/ECF

system. Notice of this filing will be sent to the Assistant United States Attorney of record in this

matter by operation of the court’s electronic filing system.



                                                      s/Eric H. Hayes
                                                      Eric H. Hayes
